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 1                                                                The Honorable Marsha J. Pechman
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 8                             UNITED STATES DISTRICT COURT
 9                       FOR THE WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
10
     CROWDSTREET, INC., a Delaware                       NO. 2:22-cv-01820-MJP
11   corporation,
                                                         DECLARATION OF TYLER LEVY
12                      Plaintiff,

13           v.

14   BDR CAPITAL, LLC, a Washington limited
     liability company, fna BDR CAPITAL
15   PARTNERS, LLC

16                      Defendant.

17

18           I, Tyler Levy, hereby declare as follows:
19           1.     I am over the age of 18 and competent to testify about the matters set forth herein.
20   I make this declaration based upon personal knowledge.
21           2.     I am currently employed by Plaintiff Crowdstreet, Inc. (“Crowdstreet”). I am the
22   Associate General Counsel.
23           3.     Plaintiff CrowdStreet, Inc., is a Delaware corporation with its principal place of
24   business in Austin, Texas. Plaintiff is a citizen of Delaware and Texas.
25           4.     Defendant BDR Capital, LLC, fka BDR CAPITAL PARTNERS, LLC (“BDR”),
26
     DECLARATION OF TYLER LEVY
     (CASE NO. 2:22-CV-01820-MJP) - 1                                                FOX ROTHSCHILD LLP
                                                                                   1001 FOURTH AVENUE, SUITE 4400
                                                                                               SEATTLE, WA 98154
                                                                                                    206.624.3600

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 1   is a Washington Limited Liability Company with its principal place of business at 11100 Main
 2   Street, Suite 201, Bellevue, Washington 98004.
 3           5.      CrowdStreet is an online commercial real estate investing platform that facilitates
 4   and enables access to a real estate investor technology platform that functions as a marketplace
 5   of commercial and multifamily real estate deals.
 6           6.      CrowdStreet provides various services to its customers, including services that
 7   enable them to post summaries and details of private offerings to be securely accessed by a
 8   customer’s existing or prospective investors directly from the customer’s website.
 9           7.      On or around October 27, 2017, Defendant BDR, though its founder and
10   chairman, Todd R. Bennett, entered into a Sponsor Direct Proposal (“Proposal”) with
11   CrowdStreet. Attached as Exhibit A is a true and correct copy of the Proposal.
12           8.      The Proposal outlined the terms and conditions of CrowdStreet providing
13   professional services to Defendant BDR in conjunction with a Sponsor Direct License
14   Agreement (“Agreement”), which is incorporated into the Proposal via paragraph 6. Attached
15   as Exhibit B is a true and correct copy of the Agreement.
16           9.      Under the Proposal and the Agreement, Defendant BDR agreed to pay
17   CrowdStreet certain fees for its professional services and products (namely, white-labeled
18   investor management software), including, but not limited to, a one-time implementation fee as
19   well as an annual subscription fee. The Agreement explicitly provides that Defendant BDR’s
20   payment obligations are non-cancellable and the fees are non-refundable.
21           10.     Paragraph 17 of the Agreement requires an award of attorney fees and costs to the
22   prevailing party in this litigation.
23           11.     On or around December 13, 2019, Defendant BDR by and through its Manager,
24   Todd R. Bennett, entered into a Marketplace Services Agreement (the “MSA”) with
25   CrowdStreet. Attached as Exhibit C is a true and correct copy of the MSA.
26
     DECLARATION OF TYLER LEVY
     (CASE NO. 2:22-CV-01820-MJP) - 2                                                FOX ROTHSCHILD LLP
                                                                                   1001 FOURTH AVENUE, SUITE 4400
                                                                                               SEATTLE, WA 98154
                                                                                                    206.624.3600

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 1           12.    The MSA outlined the terms and conditions for Defendant’s BDR’s use of
 2   CrowdStreet’s commercial real estate investor technology platform (“Marketplace”).
 3           13.    By executing the MSA, Defendant BDR agreed to abide by the terms of the MSA
 4   and further agreed to pay CrowdStreet certain fees for the use of the Marketplace and the services
 5   purchased on or through its CrowdStreet account.
 6           14.    On or around December 13, 2019, Defendant BDR further entered into a
 7   CrowdStreet Marketplace Proposal (“MSA Proposal”). Attached as Exhibit D is a true and
 8   correct copy of the MSA Proposal.
 9           15.    By executing the MSA Proposal and the MSA, Defendant BDR agreed to pay
10   certain fees for its professional services and products, including, but not limited to, a
11   nonrefundable on-boarding fee, a one-time solution deployment fee, as well as an annual solution
12   fee.
13           16.    Paragraph 11 of the MSA requires BDR to pay the attorney fees and costs that
14   CrowdStreet incurs enforcing the MSA.
15           17.    CrowdStreet has fully performed its obligations under, has fully complied with,
16   and has fulfilled all conditions precedent pursuant to, the terms and conditions of the Proposal,
17   the Agreement, the MSA, and the MSA Proposal.
18           18.    Defendant BDR used CrowdStreet’s professional services and products,
19   including, but not limited to the Marketplace, to raise money in conjunction with various real
20   estate investment offerings it advertised, promoted, solicited and funded using the Marketplace
21   and other CrowdStreet’s professional services and products.
22           19.    Defendant BDR has raised over $3.12 million dollars using the Marketplace and
23   other CrowdStreet’s professional services and products, including through an investment
24   offering identified as Sonata at Columbia Station.
25           20.    Defendant BDR has failed to pay to CrowdStreet for its professional services and
26
     DECLARATION OF TYLER LEVY
     (CASE NO. 2:22-CV-01820-MJP) - 3                                               FOX ROTHSCHILD LLP
                                                                                  1001 FOURTH AVENUE, SUITE 4400
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 1   products as required by the terms and conditions of the Proposal, the Agreement, the MSA, and
 2   the MSA Proposal.
 3           21.    Defendant BDR has used CrowdStreets’ services from October 2017 to present
 4   but has paid CrowdStreet nothing since March 2020.
 5           22.    As of February 15, 2023, Defendant BDR owes CrowdStreet $224,671.06
 6   pursuant to the terms and conditions the Proposal, the Agreement, the MSA, and the MSA
 7   Proposal.
 8           23.    Specifically, in connection with the Sonata at Columbia Station, BDR now owes
 9   CrowdStreet $172,000.00 for a total of 95 Investor Rooms created and operated from July 2020
10   to present pursuant to the MSA and MSA Proposal. As set forth in the MSA Proposal, the
11   $172,000 reflects both the “one-time solution deployment fee” (the “Solution Deployment Fee”)
12   and the “annual solution fees” (the “Annual Solution Fees”).
13           24.    The Solution Deployment Fee is a one-time fee due to CrowdStreet calculated by
14   taking the number of Investor Rooms created and multiplying them by the respective price per
15   Investor Room based on a tiered schedule, set forth in the MSA Proposal. Investor Rooms 1-10
16   cost $2,200 per Investor Room. Investor Rooms 11-25 cost $1,600 per Investor Room. Investor
17   Rooms 26-95 cost $1,200 per Investor Room. The Solution Deployment Fee payable by BDR to
18   CrowdStreet in connection with the Sonata at Columbia Station offering totaled $130,000.00;
19   however, the $15,000.00 “onboarding fee” paid to CrowdStreet was credited against the Solution
20   Deployment Fee. Thus, the BDR’s Solution Deployment Fee due and payable to CrowdStreet
21   was $115,000. The Solution Deployment Fee remains unpaid.
22           25.    In addition to the Solution Deployment Fee, the MSA Proposal provides that BDR
23   is obligated to pay CrowdStreet the Annual Solution Fee of $200 per Investor Room “on each
24   anniversary of the Effective Date during the Management Phase . . . .” Thus, the Annual Solution
25   Fee for 95 Investor Rooms is $19,000.00. The “Management Phase” is essentially the period
26
     DECLARATION OF TYLER LEVY
     (CASE NO. 2:22-CV-01820-MJP) - 4                                              FOX ROTHSCHILD LLP
                                                                                 1001 FOURTH AVENUE, SUITE 4400
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           EXHIBIT A
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                                       Darren Powderly

                                      VP Business Development

                                       10/27/17
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            EXHIBIT B
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                                     SPONSOR DIRECT LICENSE AGREEMENT

This Sponsor Direct License Agreement (“Agreement”) is by and between CrowdStreet, Inc., a Delaware corporation with its
principal offices located at 610 SW Broadway, Suite 600, Portland, OR 97205 (“CrowdStreet”) and the customer identified below
(“Customer”).

 Customer’s complete legal name               BDR Capital Partners, LLC
 State/province/country of formation          WA, USA
 Address of principal offices                 11100 Main Street, Suite 201
                                              Bellevue, WA 98004

This Agreement, which is effective as of the date last signed by CrowdStreet or Customer (each a “Party” and together the
“Parties”), states the general terms and conditions applicable to the software-as-a-service Subscription Services (defined below)
which CrowdStreet will provide to Customer pursuant to the terms herein and a Proposal (“Proposal”).

1. CERTAIN DEFINITIONS.
“Customer Website” means a production website or mobile site owned or operated by Customer and/or its agent;
“Documentation” means the technical documentation made available by CrowdStreet to Customer that describes the operation
and functionality of the Subscription Services; “Proposal” means the documents used for placing orders for Services hereunder,
which are mutually executed by the Parties, including attached schedules and other addenda thereto, and constitute a binding
commitment to purchase the Subscription Services ordered therein; “Products” mean the posting platform, transaction center,
investor room, and management portal which make up the Sponsor Direct Subscription Services; “Professional Services” means
professional software engineering, consulting, and other professional services related to the deployment and use of the
Subscription Services; “Services” means Subscription Services and Professional Services; “Subscription Services” means those
Products hosted and made available by CrowdStreet on a software-as-a-service basis and ordered by Customer under a Proposal,
as further described in the Proposal; “User” means each unique, individual user authorized by Customer to interact with the
Subscription Services or for whom an electronic record has been established by the Subscription Services; “User Data” means
personally identifiable electronic data submitted by a User through the use of the Subscription Services or provided by Customer
in connection with any Customer use of Subscription Services.
2. SUBSCRIPTION SERVICES.
2.1 Purchase and Counting Products. Subscription Services are purchased as subscriptions with capacity for the number of
Products specified in the Proposal. (Subscription Services may be used within one or more production, internal testing and
development websites or mobile applications owned or operated by Customer and/or its agent.) A Product is counted during a
Subscription Term (a) when the Product is initially configured and launched for use from Customer’s Website, or (b) a User has
interacted with the Product from the Customer’s Website.
2.2 Provisioning and License. CrowdStreet will make Subscription Services available for Customer’s access and use pursuant to
this Agreement and the relevant Proposal(s) during the Subscription Term (defined in Section 6.2 below and specified in each
Proposal). CrowdStreet, via its third party hosting provider as needed, will set-up and host the Subscription Services, and obtain
and maintain the infrastructure necessary to permit Customer, Users, and/or Customer Websites to access (via their respective
Internet connections) the Subscription Services in accordance with this Agreement. Subject to the terms and conditions of this
Agreement, CrowdStreet hereby grants to Customer a limited, worldwide, non-exclusive, non-transferable license to access, use,
perform and display the Subscription Services during the Subscription Term for the number of Products on the number of
subscribed Customer Websites, and to allow the subscribed number of Users and Customer Websites to access and use, during the
Subscription Term, applicable user-interface portions of the Subscription Services for Customer’s business purposes related to
managing the Products and/or access to log in to Customer Websites. The foregoing license extends to one or more production or
non-production (i.e., internal testing and development) environments and mobile applications that are owned or operated by
Customer and/or its agent(s) on behalf of Customer. CrowdStreet also will make available to Customer, for its use,
Documentation. (Customer may make a reasonable number of copies of Documentation solely in connection with its use of the
Subscription Services.)
2.3 Administrative Rights. Subscription Services include a restricted-access administrative interface to allow Customer-
designated employees or independent contractors (“Administrative Users”) to access the configuration and settings components
so they can manage, configure and monitor the Subscriptions Services for Customer’s benefit. CrowdStreet will provide each
Administrative User designated by Customer with access to and use of the administrative interface.
2.4 Support. During the Subscription Term and subject to Customer meeting its obligations under this Agreement, CrowdStreet
shall provide support to Customer as described in Section 3.1 and Exhibit A, below, and Customer shall be exclusively
responsible for providing all support to Customer’s Users. CrowdStreet shall manage and install all upgrades to the Subscription


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  Services and timely inform Customer of such upgrades.
  2.5 Roles. In connection with any Customer use of Subscription Services, Customer may elect to store certain User Data within
  those services’ hosting infrastructure. In this context, the Parties acknowledge Customer’s role as the data controller and
  CrowdStreet’s role as a data processor. Accordingly, CrowdStreet shall host and access such User Data only in accordance with
  Customer instructions. CrowdStreet will not modify User Data or disclose it, except if compelled by law or as expressly instructed
  in writing by Customer.
  2.6 Data Security. CrowdStreet and its hosting provider shall use and maintain appropriate administrative, physical, and technical
  measures designed to protect any and all CrowdStreet-hosted User Data against accidental or unlawful destruction or accidental
  loss, alteration, unauthorized disclosure or access. These security measures shall include: (a) user identification and access
  controls designed to limit access to User Data to Administrative Users and CrowdStreet staff who need access to provide the
  Services; (b) industry standard firewalls for all data entering internal data network from any external source; (c) industry standard
  virus protection programs and techniques to prevent harmful software code from affecting the Services or User Data; and (d) industry
  standard encryption techniques to protect data in transit. All CrowdStreet-hosted User Data shall be maintained in fully audited and
  ISO 27001, SSAE 16 (formerly SAS 70 Type II), and SOC 2 compliant datacenters.

  3. USE OF THE SERVICES.
  3.1 CrowdStreet Responsibilities. CrowdStreet will: (a) provide the Subscription Services in accordance with the service
  availability levels set forth in Exhibit A; (b) provide technical support 24 hours a day, 365 days a year via a trouble ticket system
  in accordance with the support services levels and processes set forth in Exhibit A; (c) provide support regarding Customer’s
  operation and use of the Subscription Services via phone, online services or email, as made available by CrowdStreet, from 9:00
  a.m. to 6:00 p.m. U.S. Pacific Time, Monday through Friday (excluding U.S. national holidays recognized by CrowdStreet); and
  (d) provide the Services in accordance with applicable laws and government regulations.
  3.2 Customer Responsibilities. Customer shall (a) establish and enforce terms of use and privacy policies for Users that authorize
  use of Subscription Services as permitted under this Agreement, (b) be responsible for ensuring the security and confidentiality of
  Administrative User access passwords, be solely liable for any damages resulting from Customer’s failure to maintain such
  security and confidentiality, and notify CrowdStreet promptly of any unauthorized access or use, and (c) use the Services only in
  accordance with all applicable laws and government regulations.
  3.3 Restrictions. Customer shall not (a) sell, rent or lease the Subscription Services, (b) reverse engineer or otherwise attempt to
  discover the source code of or trade secrets embodied in the Subscription Services or any portion thereof; (c) distribute, transfer,
  grant sublicenses, or otherwise make available the Subscription Services (or any portion thereof) to third parties other than Users;
  (d) embed or incorporate in any manner the Subscription Services (or any element thereof) into applications of Customer or third
  parties other than subscribed Customer Websites; (e) create modifications to or derivative works of the Subscription Services;
  (f) reproduce the Subscription Services or Documentation; or (g) in any way access, use, or copy any portion of the Subscription
  Services code (including the logic and/or architecture thereof and any trade secrets included therein) to directly or indirectly
  develop, promote, distribute, sell or support any product or service that is competitive with the Subscription Services.
  4. PROFESSIONAL SERVICES.                    CrowdStreet will perform Professional Services and provide the deliverables
  (“Deliverables”) as described in any mutually executed Proposal. Customer will provide, in a timely manner, all assistance
  reasonably requested by CrowdStreet in connection with the scoping and delivery of Professional Services. The Parties may
  change a Proposal only by a written Change Order or Amendment to a Proposal signed by the Parties.
  5. FEES AND PAYMENT. Subject to the terms and conditions below, all fees for the Services (“Fees”) will be set forth in the
  applicable Proposal. Payment obligations are non-cancellable and Fees are non-refundable. (Unless otherwise set forth in a
  Proposal, each Party is responsible for its own expenses under this Agreement.) All properly invoiced amounts are due and
  payable in United States currency according to the payment terms agreed to by the as specified in the Proposal. Payments will be
  sent to the address included on the invoice. Customer will pay applicable, invoiced taxes (excluding those based on CrowdStreet’s
  net income, property, and employees) unless Customer provides CrowdStreet with a valid taxation exemption certificate from the
  relevant taxing authority.
  6. TERM AND TERMINATION.
  6.1 Agreement Term. This Agreement shall continue in effect until terminated as set forth herein.
  6.2 Subscription Term. The term of each subscription will commence on the subscription start date stated in the applicable
  Proposal and will continue for the period stated on the Proposal, subject to any adjustment and/or renewal as described herein
  (collectively, the “Subscription Term”). Additional Products and Customer Website capacity may be added during the
  applicable Subscription Term at the pricing stated in an additional Proposal. Any such capacity added will be coterminous with
  the Subscription Term unless otherwise specified in the Proposal. Each subscription will automatically renew for the same period
  of time as the initial Subscription Term unless either Party notifies the other at least thirty (30) days prior to the commencement
  of the renewal term that it does not want the Subscription Term to renew.
  6.3 Termination. This Agreement and/or any Proposal, if applicable, may be terminated (a) by either Party if the other Party



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  breaches this Agreement and does not cure the breach within thirty (30) days after receiving written notice thereof from the non-
  breaching Party (except that such cure period shall be five (5) days for breaches of Sections 3.3 or 10), (b) by CrowdStreet as set
  forth in Section 10, or (c) by either Party upon written notice if the other Party becomes the subject of a petition for bankruptcy or
  any other proceeding relating to insolvency, receivership, liquidation or assignment for the benefit of creditors.
  6.4 Effect of Termination. Upon any termination of this Agreement or an Proposal, without prejudice to any other rights or
  remedies which the Parties may have, (a) all rights licensed and obligations required thereunder shall immediately cease; provided
  that Subsection 3.3 and Sections 5, 6, 7, 8, 9, 10, 11, and 17 shall survive termination, (b) Customer will promptly delete and
  destroy all copies of the Documentation in its possession or control, (c) Customer shall pay to CrowdStreet any outstanding Fees
  that have accrued under the Agreement and/or Proposal prior to the date of termination.
  6.5 Customer Recovery of User Data Following Termination. For a period of 30 days following termination of this Agreement,
  CrowdStreet will make User Data available to Customer in JavaScript Object Notation format for Customer’s download via a
  RESTful API or in a comma-separated value (CSV) format. Following such 30-day period, unless the Parties agree otherwise in
  writing, CrowdStreet will destroy the User Data and provide a certificate of such destruction to Customer upon Customer’s
  written request.
  7. PROPRIETARY RIGHTS. As between the Parties hereto, Customer will retain all ownership rights in and to all Customer
  Confidential Information and all pre-existing Customer intellectual property (collectively “Customer Content”), and User Data.
  As between the Parties, CrowdStreet will retain all ownership rights in and to the Subscription Services and the Documentation
  (except to the extent they include Customer Content), and Customer is permitted to use them pursuant to this Agreement.
  Customer will own the Deliverables paid for in accordance with this Agreement, except for any CrowdStreet intellectual property
  incorporated into them. CrowdStreet hereby grants to Customer a non-transferable, non-exclusive, world-wide, royalty-free
  license to use any CrowdStreet intellectual property incorporated into the Deliverables for the purpose of deploying and utilizing
  the Subscription Services, including such use of the Deliverables by Customer’s agents and independent contractors. The Parties
  acknowledge that the goodwill associated with their respective trademarks or service marks belong exclusively to the owner of
  the marks. All rights not expressly licensed by CrowdStreet under this Agreement are reserved.
  8. CONFIDENTIALITY. “Confidential Information” means, with respect to a Party (the “Disclosing Party”), information
  that pertains to such Party’s business, including, without limitation, technical, marketing, financial, pricing and other information.
  Confidential Information will be designated and/or marked as confidential when disclosed, provided that any information that the
  Party receiving such information (the “Receiving Party”) knew or reasonably should have known under the circumstances, was
  considered confidential or proprietary by the Disclosing Party, shall be considered the Disclosing Party’s Confidential
  Information even if not designated or marked as such. User Data shall be considered Customer’s Confidential Information. The
  Receiving Party shall preserve the confidentiality of the Disclosing Party’s Confidential Information and treat such Confidential
  Information with at least the same degree of care that Receiving Party uses to protect its own Confidential Information, but not
  less than a reasonable standard of care. The Receiving Party shall use Disclosing Party’s Confidential Information only to
  exercise rights and perform obligations under this Agreement and shall disclose it only to those employees and contractors of the
  Receiving Party with a need to know such information. The Receiving Party shall not be liable to the Disclosing Party for the
  release of Confidential Information if such information: (a) was known to the Receiving Party on or before Effective Date without
  restriction as to use or disclosure; (b) is released into the public domain through no fault of the Receiving Party; (c) was
  independently developed solely by the employees of the Receiving Party who have not had access to Confidential Information; or
  (d) is divulged pursuant to any legal proceeding or otherwise required by law, provided that, to the extent legally permissible, the
  Receiving Party will notify the Disclosing Party promptly of such required disclosure and reasonably assists the Disclosing Party
  in efforts to limit such required disclosure.
  9. WARRANTIES AND DISCLAIMERS. Each Party warrants that it has validly entered into this Agreement and has the legal
  power to do so. CrowdStreet warrants that (a) the Subscription Services as provided and when used in accordance with the
  Documentation, will perform in all material respects as specified in such Documentation during the Subscription Term, and (b)
  CrowdStreet will not knowingly introduce any viruses, worms, time bombs, Trojan horses, or other harmful code designed to
  permit unauthorized access of the Subscription Services or Customer’s computer systems (collectively referred to as “Viruses”).
  In the event of any breach of the warranties in subsections (a) and (b) above, CrowdStreet will, as its sole liability and Customer’s
  sole remedy, diligently remedy any deficiencies that cause the Services to not conform to the foregoing warranty promptly after
  its receipt of written notice from Customer. CrowdStreet will not be liable to the extent that any breach of the foregoing
  warranties are caused by (1) third-party components not provided by CrowdStreet, including their use in combination with the
  Subscription Services; (2) unauthorized use or use of the Subscription Services other than in accordance with the Documentation;
  or (3) Viruses introduced by Customer, its agents, or Users (collectively, “Exclusions”). EXCEPT AS EXPRESSLY
  PROVIDED HEREIN, NEITHER PARTY MAKES ANY WARRANTIES OF ANY KIND, WHETHER EXPRESS, IMPLIED,
  STATUTORY OR OTHERWISE, AND EACH PARTY SPECIFICALLY DISCLAIMS ALL IMPLIED WARRANTIES,
  INCLUDING ANY WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE, TO THE
  MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW.




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  10. INDEMNIFICATION. CrowdStreet shall defend any action against Customer brought by a third party to the extent the
  action is based upon a claim that the Subscription Services infringe any United States copyright, trademark, or patent or
  misappropriate any trade secret rights. CrowdStreet shall pay those costs and damages finally awarded against Customer in any
  such action that are specifically attributable to such claim, or those costs and damages agreed to in a monetary settlement of such
  action for such a claim. Customer shall defend any third party action brought against CrowdStreet to the extent the action is based
  upon a claim that User Data, or Customer’s use of the Services in breach of this Agreement, infringes or misappropriates the
  intellectual property rights of a third party or violates applicable law. Customer shall pay those costs and damages finally awarded
  against CrowdStreet in any such action that are specifically attributable to such claim or those costs and damages agreed to in a
  monetary settlement of such action for such a claim. The foregoing obligations are conditioned on the indemnified Party notifying
  the indemnifying Party promptly in writing of such action, the indemnified Party giving the indemnifying Party sole control of the
  defence thereof and any related settlement negotiations, and the indemnified Party cooperating and, at the indemnifying Party’s
  reasonable request and expense, assisting in such defence. If the Subscription Services (or any component thereof) become, or in
  CrowdStreet’s opinion is likely to become, the subject of an infringement claim, CrowdStreet may, at its option and expense,
  either (i) procure for Customer the right to continue exercising the rights granted to Customer in this Agreement, or (ii) replace or
  modify the Services so that it becomes non-infringing and remains functionally equivalent. If neither of the foregoing options are,
  in CrowdStreet’s reasonable opinion, commercially reasonable, CrowdStreet may terminate this Agreement and will refund to
  Customer a pro-rata portion of any applicable prepaid Fees. Notwithstanding the foregoing, CrowdStreet will have no obligation
  under this Section 10 or otherwise with respect to any infringement claim based upon any Exclusion. This Section 10 states
  CrowdStreet’s entire liability, and Customer’s sole and exclusive remedy, for infringement claims and actions.
  11. LIMITATION OF LIABILITY. NEITHER PARTY SHALL BE LIABLE FOR ANY INDIRECT, INCIDENTAL,
  CONSEQUENTIAL, SPECIAL, OR ANY LOSS OF REVENUE OR PROFITS (EXCLUDING FEES OWED UNDER THE
  AGREEMENT) PUNITIVE DAMAGES HOWEVER CAUSED, WHETHER IN CONTRACT, TORT OR UNDER ANY
  OTHER THEORY OF LIABILITY, AND WHETHER THE PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH
  DAMAGES. THE FOREGOING DISCLAIMER SHALL NOT APPLY TO THE EXTENT PROHIBITED BY APPLICABLE
  LAW. CROWDSTREET’S AGGREGATE LIABILITY WITH RESPECT TO ANY SINGLE INCIDENT ARISING OUT OF
  OR RELATED TO THIS AGREEMENT (WHETHER IN CONTRACT OR TORT OR UNDER ANY OTHER THEORY OF
  LIABILITY) SHALL NOT EXCEED THE AMOUNT PAID BY CUSTOMER HEREUNDER IN THE 12 MONTHS
  PRECEDING THE INCIDENT, PROVIDED THAT IN NO EVENT SHALL CROWDSTREET’S AGGREGATE LIABILITY
  ARISING OUT OF OR RELATED TO THIS AGREEMENT (WHETHER IN CONTRACT OR TORT OR UNDER ANY
  OTHER THEORY OF LIABILITY) EXCEED THREE TIMES THE TOTAL AMOUNT PAID BY CUSTOMER
  HEREUNDER. THE FOREGOING SHALL NOT LIMIT CUSTOMER’S PAYMENT OBLIGATIONS UNDER SECTION 5
  (FEES AND PAYMENT).
  12. MARKETING. Customer grants to CrowdStreet the right to use Customer’s name and logo on CrowdStreet’s website and in
  presentations mentioning CrowdStreet customers. CrowdStreet may invite Customer to participate in marketing programs such as
  press releases, case studies or best practice showcases, provided that CrowdStreet will provide Customer with prior written notice
  and the opportunity to contribute, review and approve any such marketing, sales and/or public relations materials prior to use.
  Customer shall be deemed to have approved any such materials if Customer does not object to the materials submitted for
  approval within five business days of receipt of such notice.
  13. INJUNCTIVE RELIEF. The Parties acknowledge that the Subscription Services and each Party’s Confidential Information
  are each unique property, and the unauthorized use thereof will cause the injured Party irreparable harm that may not be
  adequately compensated by monetary damages. Accordingly, the Parties agree that the injured Party will, in addition to other
  remedies available to it at law or in equity, be entitled to seek injunctive relief to enforce the terms of this Agreement, including to
  prevent any actual or threatened unauthorized use of each Party’s Confidential Information, the Subscription Services, or any
  information or data contained therein.
  14. STATISTICAL INFORMATION. CrowdStreet may compile, use, and publicly disclose anonymized, statistical
  information related to the use and performance of its Subscription Services by its customers, provided that such information does
  not include any User Data, personally identifiable information, or Confidential Information, or identify any Customer or User.
  15. FORCE MAJEURE. Neither Party will be responsible for failure or delay of performance if cause by reason of an act of
  war, hostility, or sabotage; act of God; electrical, Internet, or telecommunication outage that is not caused by the obligated Party;
  governmental restrictions; or other event outside the reasonable control of the obligated Party. Both Parties will use reasonable
  efforts to mitigate the effect of a force majeure event and the obligations and rights of the Party so excused will be extended on a
  day-to-day basis for the period of time equal to that of the underlying cause of the delay. This Section does not excuse either
  Party’s obligation to take reasonable steps to follow its normal disaster recovery procedures or Customer’s obligation to pay for
  the Services.




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  16. COMPLETE AGREEMENT. This Agreement incorporates herein by reference each Proposal and any schedules, exhibits,
  amendments, or change orders thereto. This Agreement constitutes the complete agreement between the Parties and supersedes all
  prior and contemporaneous agreements, proposals or representations, whether oral or written, concerning its subject matter. No
  modification, amendment, or waiver of any provision of this Agreement shall be effective unless it specifically refers to this
  Agreement, is in writing, and is signed by the Parties. In the event of any inconsistency between a Proposal and other parts of this
  Agreement, the terms of a Proposal shall be controlling. The terms on any purchase order or similar document submitted by
  Customer to CrowdStreet (other than the Proposal) will have no effect on this Agreement and are hereby rejected.
  17. MISCELLANEOUS. The Parties are independent contractors. This Agreement does not create a partnership, franchise, joint
  venture, agency, fiduciary, or employment relationship between the Parties. There are no third party beneficiaries to this
  Agreement. No failure or delay by either Party in exercising any right under this Agreement shall constitute a waiver of that right.
  The terms of this Agreement shall be binding on the Parties, and all successors to the foregoing. Neither Party will assign, transfer
  or delegate its rights or obligations under this Agreement (in whole or in part) without the other Party’s prior written consent
  except pursuant to a transfer of all or substantially all of such Party’s business and assets, whether by merger, sale of assets, sale
  of stock, or otherwise. Any attempted assignment, transfer or delegation in violation of the foregoing shall be null and void. This
  Agreement shall be governed by an interpreted in accordance with the laws of the State of Oregon, U.S.A. without regard to
  Oregon’s conflict of laws rules. The exclusive venue and jurisdiction for any claim or lawsuit arising from or related to this
  Agreement shall be the appropriate state or federal court located in the county in which the defendant Party has its principal place
  of business. The prevailing Party shall be entitled to recover reasonable attorney’s fees and other costs from the other Party in
  addition to any other relief to which the prevailing Party may be entitled. The United Nations Convention on Contracts for the
  International Sale of Goods will not apply to the interpretation or enforcement of this Agreement. If any provision of this
  Agreement is held to be null, void or otherwise ineffective or invalid by a court of competent jurisdiction, (a) such provision shall
  be deemed to be restated to reflect as nearly as possible the original intentions of the Parties in accordance with applicable law,
  and (b) the remaining terms, provisions, covenants and restrictions of this Agreement shall remain in full force and effect. All
  notices, consents and approvals under this Agreement must be delivered in writing by courier, by facsimile, or by certified or
  registered mail, (postage prepaid and return receipt requested) to the other Party at the address set forth on at the beginning of this
  Agreement and are deemed delivered when received. This Agreement may be executed in counterparts.


  IN WITNESS WHEREOF, the Parties hereto have caused their duly authorized representatives to execute this Agreement as of
  the date written below.


   CUSTOMER: BDR CAPITAL PARTNERS, LLC                          CUSTOMER:
                                                               CROWDSTREET,     INC.
                                                                _________________________________
   By:                                                         By:
                                                                By:
   Name:                                                        Name: Darren Powderly
                                                               Name:
                                                                Title:
   Title:                                                      Title:  VP Business Development

   Date:                                                       Date:      10/27/17




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                                                                      EXHIBIT A

                                                        SERVICE AVAILABILITY LEVELS
Uptime Commitment: CrowdStreet will use commercially reasonable efforts to ensure that the Subscription Services will be available at least
99.9% of the time, as measured monthly and calculated by subtracting from 100% the total percentage of one (1) minute periods during the monthly
service period for which there is no external connectivity and/or the Subscription Services does not service obligatory data requests as required for
functionality in accordance with this Agreement, subject to the exclusions set forth below and also excluding scheduled downtime and any time
necessary to implement updates, upgrades or other modifications to the Subscription Services (“Uptime Commitment”). CrowdStreet will notify
Customer (a) at least twenty-four (24) hours prior to any scheduled downtime and will use commercially reasonable efforts to minimize the effect of
such maintenance on the Hosting Services and (b) as soon as practicable following any known and verified unscheduled downtime.

Exclusions: The Uptime Commitment shall not apply in the event that (i) any equipment (not in the custody or control of CrowdStreet or its third
party hosting provider) malfunctions; or (ii) there is an occurrence of one (1) or more causes beyond the control of CrowdStreet or its hosting
provider, including, without limitation, interruption or failure of telecommunication or digital transmission links, hostile network attacks, network
congestion, denial of service attacks, failure of the Internet generally, or any actions or inactions by you or any third party.
Service Credits: If CrowdStreet fails to meet the required Uptime Commitment in a particular calendar month, Customer shall be entitled (as its
sole and exclusive remedy) to a credit as set forth below (each an “Uptime Credit”). Any Uptime Credit issued for a particular month will be
calculated as a percentage of the actual subscription Fees for such month and will be determined as follows:
Actual Uptime Percentage                 Uptime Credit %:
≥99.9%                                   0% of subscription Fee
≥ 98.5% but < 99.9%                      25% of subscription Fee
< 98.5%                                  100% of subscription Fee
The Uptime Credits will be issued as a credit against future subscription Fees or, if no additional subscription Fees are payable when the Agreement
terminates, will be provided to Customer in the form of a refund paid within thirty (30) days after the claim submission date. All requests for credits
must be received within ten (10) business days after the end of the calendar month during which such credit accrued. All claims are subject to
verification by CrowdStreet.
                                                        TECHNICAL SUPPORT SERVICES


1. Customer Obligations. Customer agrees to provide CrowdStreet with all information and materials requested by CrowdStreet for use in
replicating, diagnosing and correcting an error or other problem with the Subscription Services reported by Customer. Customer acknowledges that
CrowdStreet’s ability to provide satisfactory support services is dependent on CrowdStreet having the information necessary to replicate the reported
problem with the Subscription Services. Load testing is not permitted. Customer should contact CrowdStreet if they believe they have a need for load
testing. Customer agrees not to run scripts that could endanger the performance of the Subscription Services without CrowdStreet’s prior explicit
permission.
2. Items Not Covered by Support Services. CrowdStreet is not obligated to provide support services for errors or problems caused by the
following:
               (a) third-party components not provided by CrowdStreet; or
               (b) use of the Subscription Services other than as described in the Documentation.
3.    Response Times. CrowdStreet shall comply with the response times set forth below based on the severity level of the particular error.

Severity                                 Definition                                                             Response
 Level
Critical    A Critical Severity issue has significant to critical business impact   CrowdStreet agrees that it will provide a response by a qualified
            on a production system, resulting in Customer’s use of the              member of its staff to begin to diagnose and to correct a Critical
            Subscription Services being either down, or functioning at a            Severity fault within sixty (60) minutes after notification by
            significantly reduced capacity.                                         Customer. CrowdStreet will use commercially reasonable efforts to
                                                                                    resolve Critical Severity faults as soon as possible.
Medium      A Medium Severity issue has some business impact on the                 CrowdStreet agrees that it will provide an initial response by a
            Subscription Services, resulting in some functionality loss on          qualified member of its staff to begin to diagnose a Medium
            Customer’s use of the Subscription Services. The Subscription           Severity fault within one (1) business day of notification by
            Services is usable, but does not provide a function in the most         Customer. CrowdStreet will use commercially reasonable efforts to
            convenient or expeditious manner.                                       resolve Medium Severity faults within five (5) business days or in
                                                                                    the next update of the Subscription Services, whichever is sooner.
     Low    A Low Severity issue is for non-production questions including          CrowdStreet agrees that it will provide an initial response by a
            general usage questions, issues related to a non-production             qualified member of its staff to begin to diagnose a Low Severity
            environment, or feature requests. There is no impact on the             fault within five (5) business days of notification by Customer.
            quality, performance or functionality on Customer production            CrowdStreet does not guarantee a resolution time for Low Severity
            system.                                                                 incidents.




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October 25, 2022

BDR Capital Partners, LLC
℅ Todd Bennett, President
11100 Main Street, Suite 201
Bellevue, WA 98004

Mr. Bennett,

Please review this correspondence regarding the fees owed to CrowdStreet, Inc. (“CrowdStreet”)
by BDR Capital Partners, LLC (“BDR”) at your earliest convenience.

Through its refusal to pay the fees owed to CrowdStreet regarding both the Investment Renewal
Software and the Offering identified as Sonata at Columbia Station (the “Offering”), BDR is in
breach of the Sponsor Direct Proposal (the “Sponsor Direct Proposal”), the CrowdStreet
Marketplace Services Ageement (the “MSA”), and the CrowdStreet Marketplace Proposal (the
“Proposal”). Please consider this correspondence demand for payment from BDR of all
outstanding amounts owed to CrowdStreet in the amount of $196,352.06 – $43,352.06 of which
is owed pursuant to the Sponsor Direct Proposal and $153,000.00 of which is owed pursuant to
the MSA and the Proposal.

BDR has raised $3.12 million using CrowdStreet’s services. However, CrowdStreet has not
received any payment – not even partial payment – from BDR since March 2020. In October
2021, CrowdStreet sent BDR a proposed payment plan, but BDR did not respond. CrowdStreet
has contacted BDR repeatedly, including BDR’s accounting department and CFO’s office, via
telephone and email without receiving a reply. There is no dispute regarding the amounts owed
(as has been conceded by BDR’s payment plan proposal earlier this month), and CrowdStreet has
performed its obligations fully under the Sponsor Direct Proposal, the MSA, and the Proposal.

On October 27, 2017, BDR and CrowdStreet entered into the Sponsor Direct Proposal. A
courtesy copy of the Sponsor Direct Proposal is attached to this letter as Exhibit A for ease of
reference. By executing the Sponsor Direct Proposal, BDR agreed to pay CrowdStreet the
following amounts:

               Section 2: A one-time implementation fee of $5,000 shall be
               charged to set up all offerings (both 40+/- current and 40+/-
               archived), contacts, documents and distributions.

               An annual subscription fee of $18,638 (350 Investor Rooms *
               $53.25 per Investor Room) will apply for each year of the Initial
               Term. Payment terms for the first year of the Initial Term will be
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                                           Austin, Texas 78701
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              50% ($9,319) due upon Effective Date and the remaining 50%
              ($9,319) balance due upon [BDR] launching [BDR]’s private-label
              portal on [its] website or 45 days after the Effective Date,
              whichever is earlier. Payment of the annual subscription fee for
              year two of the Initial Term shall be on or before October 31, 2018.

              Annual subscription fees for Renewal Terms shall be calculated
              based on the total number of active Investor Rooms at the end of
              the contract year. Fees will be invoiced and due upon each
              anniversary date of this [Sponsor Direct Proposal] for the Term.

              Section 3: An initial subscription term (“Initial Term”) of
              twenty-four (24) months from Effective Date. Automatic
              twelve-month subscription renewals (“Renewal Terms”) unless
              either Party provides thirty (30) days written notice of termination
              prior to the commencement of the renewal term.

On December 13, 2019, BDR and CrowdStreet entered into the MSA. A courtesy copy of the
MSA is attached to this letter as Exhibit B for ease of reference. By executing the MSA, BDR
agreed to the following relevant terms and conditions:

              Section 1.2: Your use of the CrowdStreet Marketplace and the
              Servies is subject to your acceptance of this Agreement . . .

              Section 3.1: You agree to pay CrowdStreet for use of the
              CrowdStreet Marketplace and the Services purchased on or
              through your account as set forth herein and in each Proposal . . .

              Section 3.2: Fees will be billed and must be paid as set forth herein
              or in each Proposal.

Further, on December 13, 2019, BDR and CrowdStreet entered into the Proposal related to the
Offering. A courtesy copy of the Proposal is attached to this letter as Exhibit C for ease of
reference. By executing the Proposal, BDR agreed to pay the following amounts to
CrowdStreet:

              Section 4: A $15,000 nonrefundable on-boarding fee will be paid
              upon the date this proposal is signed by [BDR] (the “Effective
              Date”) and applied toward the final solution deployment fee.
              Upon the conclusion of the [BDR]’s use of the Publishing Platform
              and Transaction Center, a one-time solution deployment fee based
              on the number of Investor Rooms (as defined in the [MSA])
              created will be calculated according to the following table and due
              upon receipt of invoice.

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                                           Austin, Texas 78701
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              For Illustration Purposes: If 20 Investor Rooms are created then the
              solution deployment fee shall be calculated as follows:
              Investor Rooms 1-10: 10 x $2,200 = $22,000
              Investor Rooms 11-20: 10 x $1,600 = $16,000
              Deployment Fee: $22,000 + $16,000 - $15,000 onboarding fee =
              $23,000

              [BDR] shall also be subject to an annual solution fee based on the
              total number of active Investor Rooms for the Project at a rate of
              $200 per Investor Room. Annual solution fees will be charged and
              due on each anniversary of the Effective Date during the
              Management Phase (defined below). For the avoidance of doubt,
              annual solution fees will not be subject to proration or rebate.

The terms of each agreement – the Sponsor Direct Proposal, the MSA, and the Proposal – are
clear. CrowdStreet has made every effort to work with BDR toward a resolution to no avail.
Please remit payment in full of the outstanding amounts owed to CrowdStreet by 5:00 PM in
Austin, Texas on or before November 4, 2022. In the event that payment is not received in full,
CrowdStreet is prepared to take legal action to recover all amounts owed as well as its costs
associated with pursuing its rights under the agreements with BDR.

If you have any clarifying questions, please contact me at legal@crowdstreet.com.


                                                               Sincerely,

                                                               /s/ Tyler Levy, Associate General Counsel




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                                           Austin, Texas 78701
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